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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:
Aelina Roman                                    §       Case No. 22-33528-H4-13
                                                §
                                                §
                                                §               (Chapter 13)

                    BANKRUPTCY RULE 2016(b) DISCLOSURE AND
               APPLICATION FOR APPROVAL OF FIXED FEE AGREEMENT

      Daniel J. Ciment files this FED. R. BANKR. P 2016(b) Disclosure and Application for
Approval of Fixed Fee Agreement.

      1.       I have agreed to provide the following services to the Debtors on a fixed fee basis:

               A.      Counsel with the Debtor(s) on an as needed basis.

               B.      Prepare and file a proposed chapter 13 plan and any required amendments to the
                       plan. If required, I will file a “Uniform Motion to Amend Confirmed Chapter 13
                       Plan to Satisfy Recently Filed, Timely Proofs of Claim” in accordance with BLR
                       3015-1(e).

               C.      Assist the Debtor(s) in preparing and filing the documents required by § 521 of
                       the Bankruptcy Code and any required amendments.

               D.      Prepare and file miscellaneous pleadings that are required to protect the
                       Debtor(s)' interests in the case.

               E.      Prepare and file any necessary Applications for Withdrawal From Savings Fund.

               F.      Prepare and file any necessary Notice of Payments Due or Notice Reflecting
                       Change from Reserves for Post-Petition Ad Valorem Taxes, Homeowners
                       Association Fees or other Periodic Post-Petition Obligations.

               G.      Prepare and file responses to pleadings filed against the Debtor(s) even if the
                       response is a statement that the relief is not opposed.

               H.      Attend the scheduled § 341 meeting and all reset or continued meetings.

               I.      Attend the confirmation hearing, if required under the circumstances, pursuant to
                       an order entered in the chapter 13 case, or pursuant to local rules.

               J.      Advise the Debtor(s) concerning their obligations and duties pursuant to the
                       Bankruptcy Code, Bankruptcy Rules, court procedures, applicable court orders
                       and the provisions of their chapter 13 plan.
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2.       The fixed fee agreement does not include the following services:

         A.    Representation of the Debtor(s) in an adversary proceeding, either as a plaintiff or
               a defendant.

         B.    Representation of the Debtor(s) in a contested matter, the subject of which is
               extraordinary in the context of chapter 13 cases in the United States Bankruptcy
               Court for the Southern District of Texas.

         C.    Representation of the Debtor(s) in any matter in which the Court orders fee
               shifting pursuant to which fees are to be paid by a person other than the Debtor(s).


3.       I have agreed to the following fees and reimbursements:

         A.      I have agreed to a fixed fee (including all expenses except reimbursement
                 of the filing fee) in the amount of $4,500.00. I have received $207.00 for
                 representing the Debtor in this case. Therefore the balance due from the
                 trustee as an administrative expense is $4,293.00. I agree that if the case is
                 dismissed before the plan is confirmed or less than 120 days after confirmation,
                 the maximum fee under this provision will be $4,000.00.

         B.      I have advanced the filing fee of $0.00. Therefore, in addition to the
                 amounts set forth above, the trustee shall reimburse to me that sum as an
                 administrative expense of the estate.

         C.      I will provide those services required after the Debtor makes the final
                 payment required under the chapter 13 plan to assist my client in obtaining
                 a chapter 13 discharge. There will be no additional charge imposed for this
                 service, unless the service required to obtain the chapter 13 discharge is
                 extraordinary, in which event I may apply additional fees.

4.       The following services will also be provided, if needed, on a fixed fee basis. Payment
         may be made directly by the Debtor(s) or through the confirmed plan:

         A.      X . Motions for relief from the stay for which the first hearing date is
                 more than 120 days following confirmation and which are resolved by
                 agreement. The fixed fee is in the amount of $425.00

         B.       X . Motions filed by the chapter 13 trustee seeking dismissal of the case,
                 for which the first hearing date is more than 120 days following
                 confirmation, and for which there is an agreement or no opposition. The
                 fixed fee is in the amount of $275.00.


         C.       X . Debtors' motion to modify plan for which the first hearing date is
                 more than 120 days following confirmation. The fixed fee is in the amount
                 of $800.00, plus the actual out-of-pocket postage costs for service of the
                 motion to modify the plan.

         D.      X. Review of a notice filed pursuant to FED. R. BANKR. P. 3002.1(b) or (c)
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                         which is filed more than 120 days following the entry of an order of
                         confirmation. The fixed fee is in the amount of $300.00.

             E.       X . Debtor(s)' motion to sell, refinance or incur debt regarding real property.
                     The fixed fee is in the amount of $600.00, plus the actual out-of-pocket postage
                     costs for service of the motion.

             F.      X. Debtor(s)' surrender notice per paragraph 20 of the uniform plan. The fixed
                     fee is in the amount of $300.00, plus the actual out-of-pocket postage costs for
                     service of the notice.

             G.      X. Debtor(s)' transfer of real property in satisfaction of secured claim per
                     paragraph 14 of the uniform plan. The fixed fee is in the amount of $500.00, plus
                     the actual out-of-pocket: (i) postage costs for service of the required notice, (ii)
                     cost for certified copies; (iii) cost to file plan and order in the appropriate
                     county; and (iv) title/lien search fee, if any.

             H.      Any legal services rendered that are not covered by an agreed fixed fee in
                     paragraphs(A)-(G) above shall be provided on an hourly fee basis at a rate not to
                     exceed $450.00. All hourly fees are subject to approval by the Bankruptcy Court
                     after the filing and service of a proper fee application.

5.   The Debtor(s) certify that the Debtor(s) have had to opportunity to read and review the above fee
     agreement and agree to:

             A.      Provide their Counsel with accurate financial information concerning their
                     assets, liabilities, income and expenses.

             B.      Discuss with their Counsel the Debtor(s)' objectives in filing the case.

             C.      Keep their Counsel informed of the Debtor(s)' contact information, including
                     physical and mailing address, phone number(s), and email, if applicable.

             D.      Inform their Counsel of wage garnishments, lawsuits, or attachments that occur
                     after the commencement of the case.

             E.      Inform their Counsel promptly of any change in their financial circumstances,
                     including any change in wages/salary or change in employer.

             F.      Inform their Counsel if they wish to buy, sell, or refinance any loan during the
                     case.


6.   The Debtor(s) have reviewed the foregoing with counsel and understand their responsibilities
     and the fees agreed to be paid.

7.   The Debtor(s) have met in person with the undersigned attorney (or another attorney supervised
     by the undersigned and who is licensed to practice law) for not less than 1 hour. The Debtor(s)
     understand that time spent exclusively with a paralegal or other person not licensed to practice
     law may not be included in the 1 hour.
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         5.        I have not shared or agreed to share any compensation paid or to be paid. The following
sets forth all of the compensation that is being paid by any person or entity other than the Debtors.
Describe:          N/A

        6.       Counsel certifications:

                 A.      I certify that the foregoing is a true and correct statement of the
                         compensation that I have been paid or that has been agreed to be paid to
                          me.

                 B.      I (or another attorney supervised by me and who is licensed to practice law) met
                         in person with the Debtor(s) for not less than 1 hour. I understand that time
                         spent exclusively with a paralegal or other person not licensed to practice law
                         may not be included in the 1 hour.

                 C.      I have not shared or agreed to share any of the compensation paid or to be paid.
                         The following sets forth all of the compensation that is being paid by any person
                         or entity other than the Debtor(s). Describe: N/A




Dated: November 30, 2022                         /s/ Aelina Roman
                                                          Debtor




Dated: November 30, 2022                                                 /s/ Daniel J. Ciment
                                                                         Counsel to the Debtor(s)
